
Active Care Medical Supply Corp., as Assignee of Swan, Steven, Appellant,
againstMVAIC, Respondent. 




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
The Law Office of Jaime E. Gangemi (Jaime E. Gangemi of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Theresa M. Ciccotto, J.), entered February 1, 2017. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant Motor Vehicle Accident Indemnification Corporation's (sued herein as MVAIC) motion for summary judgment dismissing the complaint. 
For the reasons stated in Starlite Acupuncture, P.C., as Assignee of Torres, Yamil v MVAIC (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2016-3006 K C], decided herewith), the order is affirmed.
PESCE, P.J., WESTON and ALIOTTA, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 02, 2019










